             Case 5:17-cv-00240-R Document 38 Filed 06/29/20 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

(1)VFS US LLC; and (2) VFS LEASING CO.         )
                                               )
                         Plaintiffs,           )
                                               )
v.                                             )
                                               )                Case No. CIV-17-240-R
 (1) COPELAND SERVICES INC., an Oklahoma       )
corporation; (2) COPELAND HOT OIL SERVICE, )
L.L.C., an Oklahoma limited liability company; )
(3) JANE D. ROBISON, an individual; (4) KELLY )
L. ROBISON, an individual; and (5) KEVIN R.    )
COPELAND, an individual,                       )
                                               )
                           Defendants.         )
                                               )
                                               )

                                       ORDER

       The Hearing on Assets, currently scheduled for June 30, 2020 at 1:00 p.m., is

CONTINUED to July 14, 2020 at 11:00a.m. All parties shall report to Courtroom

103. All provisions and orders detailed in the Court’s earlier Order (ECF No. 35) remain

in effect.

       IT IS SO ORDERED on June 29, 2020.
